   Case: 1:04-cr-00534 Document #: 392 Filed: 07/23/14 Page 1 of 2 PageID #:1764




                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 UNITED STATES OF AMERICA,                     )
                                               )
        v.                                     )
                                               )   Case No. 04-cr-534-5
 HENRY SAVAGE,                                 )
                                               )   Judge John W. Darrah
                Defendant.                     )

                                             ORDER

       Defendant Henry Savage’s Motion for Reduction of Sentence [384] is denied. See
statement below.


                                         STATEMENT

        On November 14, 2005, following a jury trial, Defendant was convicted of possession
with intent to distribute 50 or more grams of cocaine base in the form of crack cocaine. (See
Dkt. No. 252.) On March 29, 2006, this Court sentenced Defendant at the low end of the
advisory sentencing guidelines to a term of 210 months imprisonment and five years of
supervised release. (See Dkt. No. 302.) Defendant’s offense level was based on 62.6 grams of
“crack” cocaine and the 6,221.7 grams of powder cocaine, resulting in an initial offense level of
32, pursuant to § 2D1.1(c)(4). On October 17, 2007, the Seventh Circuit affirmed Defendant’s
conviction and sentence. On September 11, 2008, this Court denied Defendant’s first motion for
a reduction in his sentence.

        Defendant has moved again for a reduction of his sentence, pursuant to 18 U.S.C.
§ 3582(c), Guideline Amendment 750, and the Fair Sentencing Act of 2010. Guideline
Amendment 750, which became effective on November 1, 2011, made permanent and
retroactive certain reductions in the base offense level for most cocaine base (“crack”) offenses.
See U.S.S.G., App. C, Vol. Ill at 391-398; 76 Fed. Reg. 41332–41335 (July 13, 2011). Pursuant
to Section 3582(c)(2) and U.S.S.G. 1B1.10(a)(2)(B), a reduction in the defendant’s term of
imprisonment is authorized only where an amendment “[has] the effect of lowering the
defendant’s applicable guideline range.” U.S.S.G. 1B1.10(a)(2)(B); see also United States v.
Taylor, 627 F.3d 674, 676 (7th Cir. 2010) (relief under § 3582(c) is not available where the
amendment does not change the guideline range).

        Defendant is not entitled to a reduction as a result of this amendment because his offense
level remains unchanged. As noted above, this Court found that Defendant was responsible for
6,221.7 grams of powder cocaine, which quantity yields the same previously determined base
offense of 32 that was applicable for the quantity of crack. See U.S.S.G. 2D1.1(c)(4). Therefore,
   Case: 1:04-cr-00534 Document #: 392 Filed: 07/23/14 Page 2 of 2 PageID #:1765




a reduction in Defendant’s sentence is not authorized under § 3582(c)(2). Defendant’s Motion is
denied.


Date: ________7/23/2014_______                  _____________________________
                                                JOHN W. DARRAH
                                                United States District Court Judge




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